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                                                                                                                             JS-3
                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             13-0056 GHK

 Defendant           KAZARYAN, KAREN                                         Social Security No. 6         2   2    0
 akas:    Garen Kazaryan, Gary Kazaryan

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH       DAY   YEAR
               In the presence of the attorney for the government, the defendant appeared in person on this date.       12      09    2013

  COUNSEL                                                           ALEX KESSAL, RETAINED
                                                                            (Name of Counsel)

        PLEA         X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                               CONTENDERE             GUILTY
   FINDING There being a FINDING of GUILTY, defendant has been convicted as charged of the offense(s) of: UNAUTHORIZED
          ACCESS TO A PROTECTED COMPUTER, in Violation of TITLE 18 U.S.C. § 1030(a)(2)(C), as charged in COUNT
          12; AGGRAVATED IDENTITY THEFT; in Violation of TITLE 18 U.S.C. § 1028A(a)(1), as charged in COUNT 27 of
          the INDICTMENT.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM
  ORDER
It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately. Any unpaid
balance shall be during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons’ Inmate Financial Responsibility Program.

All fines are waived as it is found that the defendant does not have the ability to pay a fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the custody of the
Bureau of Prisons to be imprisoned for a term of: SIXTY (60) MONTHS. This term consists of 36 months on Count 12, and 24
months on Count 27, to be served consecutively for a total of 60 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years. This term
consists of 3 years on Count 12 and 1 year on Count 27, all such terms to run concurrently under the following terms and
conditions:

1. The defendant shall comply with the rules and regulations of the U. S. Probation Office and General Order 05-02;
2. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment, and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
directed by the Probation Officer;
3. The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis,
breath, and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using illicit drugs and
alcohol, and abusing prescription medications during the period of supervision;
4. During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel, may place
the defendant in a residential drug treatment program approved by the U. S. Probation Office for treatment of narcotic addiction or
drug dependency, which may include counseling and testing, to determine if the defendant has reverted to the use of drugs, and
the defendant shall reside in the treatment program until discharged by the Program Director and Probation Officer;

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5. The defendant shall participate in mental health treatment, which may include evaluation and counseling, until discharged from
the treatment by the treatment provider, with the approval of the Probation Officer;
6. As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant’s substance abuse
and mental health treatment to the aftercare contractor during the period of community supervision, pursuant to 18 U.S.C. § 3672.
The defendant shall provide payment and proof of payment as directed by the Probation Officer;
7. During the period of community supervision the defendant shall pay the special assessment in accordance with this judgment’s
orders pertaining to such payment;
8. The defendant shall not obtain or possess any driver’s license, Social Security number, birth certificate, passport or any other
form of identification in any name, other than the defendant’s true legal name; nor shall the defendant use, for any purpose or in
any manner, any name other than his true legal name or names without the prior written approval of the Probation Officer;
9. The defendant shall cooperate in the collection of a DNA sample from the defendant;
10. Before using any computer or computer-related device capable of accessing the internet, screen name, password, e-mail
account or ISP for the first time, defendant shall notify his Probation Officer. Computers and computer-related devices include,
but are not limited to, personal computers, personal data assistants (PDAs), internet appliances, electronic games, and cellular
telephones, as well as their peripheral equipment, that can access or can be modified to access the internet, electronic bulletin
boards, and other computers, or similar media;
11. After notifying his Probation Officer about a particular computer, computer related device, screen name password, e-mail
account or ISP, defendant need not notify his Probation Officer about subsequent use of that particular item. Defendant shall,
however, notify his Probation Officer of any additions to, removals from, upgrades of, updates of, reinstallations of, repairs of, or
other modifications of the hardware or software on any computers, computer-related devices, or peripheral equipment in the
aforementioned items within one week of the change;
12. Defendant shall provide the Probation Officer with all billing records for phone, cable, internet and satellite services that he
purchases, as requested by the Probation Officer, so that the Probation Officer can verify his compliance with these requirements;
13. All computers, computer-related devices and their peripheral equipment used by defendant shall be subject to search and
seizure by making a mirror image of the device or searching the computer on-site. The defendant shall not hide or encrypt files or
data without prior approval from the Probation Officer;
14. Defendant shall not knowingly contact or attempt to contact any of the victims in this case, or persons known to him to be the
victims’ families, including but not limited to their parents, siblings, other relatives, any spouse or significant other with whom the
victims may share an intimate relationship (whether existing now or during the pendency of any term of supervised release), and
any children of the victims (whether existing now or during the pendency of any term of supervised release) (collectively, defined
as “Victims Families”), directly or indirectly by any means, including but not limited to in person, by mail, telephone, email, text
message, or otherwise via the internet or other electronic means, or through a third party;
15. Defendant shall not attempt to locate the victims or the Victims’ Families or attempt to obtain information concerning the
whereabouts, phone numbers, email addresses, or other personal identifiers of the victims or the Victims’ Families;
16. Defendant shall remain at least 100 yards away from the victims at all times;
17. Defendant shall not possess, or attempt to possess any materials, whether in hard copy, digital, electronic, or any other form,
that depict sexually explicit and/or nude images of the victims and/or that contain personal identifying information, including any
access devices and bank/credit card account numbers, of the victims.



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The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider to
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facilitate the defendant’s treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by
the treatment provider is prohibited without the consent of the Court.

The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous mental health evaluations or
reports, to the treatment provider. The treatment provider may provide information (excluding the Presentence Report), to State or
local social service agencies (such as the State of California, Department of Social Services), for the purpose of the defendant’s
rehabilitation.

Upon motion of the government, all remaining counts are ordered dismissed.

IT IS RECOMMENDED that the defendant be allowed to participate in the 500 hour RDAP program.

IT IS FURTHER RECOMMENDED that the defendant be designated to the facility at Lompoc, Terminal Island and/or a
Southern California facility to facilitate family visitation.

IT IS ORDERED that the defendant be REMANDED to the custody of the U. S. Marshal forthwith. Remand Order # D9525.

Bond is ordered exonerated.

Defendant is informed of his right to appeal.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




                    12/16/13
            Date                                                   GEORGE H. KING, CHIEF U.S. DISTRICT JUDGE

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                   Terry Nafisi, Clerk, U.S. District Court



                   12/16/13                                  By              /S/
            Filed Date                                             Beatrice Herrera, Courtroom Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:
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 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


         The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or restitution
is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject to penalties
for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not applicable for offenses
completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the balance
as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

           The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or residence
until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

        The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust the
manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

         Payments shall be applied in the following order:

                    1. Special assessments pursuant to 18 U.S.C. §3013;
                    2. Restitution, in this sequence:
                              Private victims (individual and corporate),
                              Providers of compensation to private victims,
                              The United States as victim;
                    3. Fine;
                    4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                    5. Other penalties and costs.

                                 SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with




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 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal

                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk


                                                FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                       Date


                    U. S. Probation Officer/Designated Witness                      Date




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                                       NOTICE PARTY SERVICE LIST
Case No.        CR 13-0056 GHK                  Case Title U. S. A. v. KAREN DAZARYAN
Title of Document          JUDGMENT/PROBATION COMMITMENT ORDER

        ADR                                                                US Attorneys Office - Civil Division -L.A.

        BAP (Bankruptcy Appellate Panel)                                   US Attorneys Office - Civil Division - S.A.
        BOP (Bureau of Prisons)                                            US Attorneys Office - Criminal Division -L.A.
        CA St Pub Defender (Calif. State PD)                               US Attorneys Office - Criminal Division -S.A.
        CAAG (California Attorney General’s Office -                       US Bankruptcy Court
        Keith H. Borjon, L.A. Death Penalty Coordinator)
                                                                           US Marshal Service - Los Angeles (USMLA)
        Case Asgmt Admin (Case Assignment
        Administrator)                                                     US Marshal Service - Riverside (USMED)
        Chief Deputy Admin                                                 US Marshal Service -Santa Ana (USMSA)
        Chief Deputy Ops                                                   US Probation Office (USPO)
        Clerk of Court                                                     US Trustee’s Office
        Death Penalty H/C (Law Clerks)                                     Warden, San Quentin State Prison, CA
        Dep In Chg E Div
                                                                            ADD NEW NOTICE PARTY
        Dep In Chg So Div                                                   (if sending by fax, mailing address must also be
                                                                            provided)
        Federal Public Defender
                                                                   Name:
        Fiscal Section
                                                                   Firm:
        Intake Section, Criminal LA
                                                                   Address (include suite or floor):
        Intake Section, Criminal SA
        Intake Supervisor, Civil
        MDL Panel
                                                                   *E-mail:
        Ninth Circuit Court of Appeal
                                                                   *Fax No.:
        PIA Clerk - Los Angeles (PIALA)                            * For CIVIL cases only
                                                                           JUDGE / MAGISTRATE JUDGE (list below):
        PIA Clerk - Riverside (PIAED)
        PIA Clerk - Santa Ana (PIASA)
        PSA - Los Angeles (PSALA)
        PSA - Riverside (PSAED)
        PSA - Santa Ana (PSASA)
        Schnack, Randall (CJA Supervising Attorney)                                       Initials of Deputy Clerk Bea

        Statistics Clerk



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